              Case 3:16-cr-05110-RJB Document 212 Filed 06/14/17 Page 1 of 2




 1                                                                    JUDGE ROBERT J. BRYAN
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 5
                               UNITED STATES DISTRICT COURT
 6
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT TACOMA

 8
     UNITED STATES OF AMERICA,                          ) No. CR16-5110 RJB
 9                                                      )
                      Plaintiff,                        )
10                                                      )
                 v.                                     ) NOTICE OF CRIMINAL APPEAL
11                                                      )
     DAVID TIPPENS,                                     )
12                                                      )
                      Defendant.                        )
13                                                      )
14          NOTICE IS GIVEN that David Tippens, defendant in the above-named case,

15   hereby appeals to the United States Court of Appeals for the Ninth Circuit from the

16   judgment in a criminal case entered on June 13, 2017, and the sentence imposed on

17   May 26, 2017 and June 13, 2017.

18          DATED this 14th day of June, 2017.

19                                                    Respectfully submitted,

20                                                    s/ Colin Fieman
21                                                    Assistant Federal Public Defender
                                                      Attorney for David Tippens
22
23
24
25   Name of court reporters: Teri Hendrix & Barry Fanning
     Transcript required: Yes
26
     Date transcript ordered: June 14, 2017

                                                                      FEDERAL PUBLIC DEFENDER
       NOTICE OF CRIMINAL APPEAL                                           1331 Broadway, Suite 400
       (United States v. Tippens; CR16-5110RJB) - 1                              Tacoma, WA 98402
                                                                                     (253) 593-6710
              Case 3:16-cr-05110-RJB Document 212 Filed 06/14/17 Page 2 of 2




 1                                    CERTIFICATE OF SERVICE
 2          I hereby certify that on June 14, 2017 I electronically filed the foregoing
 3   document with the Clerk of the Court using the CM/ECF system, which will send
 4   notification of filing to all registered parties.
 5
                                                      s/ Carolynn Cohn
 6                                                    Paralegal

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                                                                                    (253) 593-6710
